REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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 12
 13                           UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 14
                                   WESTERN DIVISION
 15
 16 THIMES SOLUTIONS INC.,                    CASE NO.: 2:19-cv-10374-SB-E
 17
                Plaintiff,                    DISCOVERY MATTER
 18
 19        v.                                 TP-LINK USA’S SUPPLEMENTAL
                                              MEMORANDUM IN SUPPORT OF
 20 TP-LINK USA CORPORATION, and              ITS MOTION FOR TERMINATING,
 21 AUCTION BROTHERS, INC. d/b/a              OR IN THE ALTERNATIVE ISSUE
    AMAZZIA,                                  SANCTIONS, MOTION TO
 22                                           COMPEL RESPONSES TO
 23          Defendants.                      DISCOVERY, AND REQUEST FOR
                                              MONETARY SANCTIONS
 24
 25                                           Date:      Oct. 14, 2022
                                              Time:      9:30 a.m.
 26                                           Courtroom: 750, 7th Floor
 27
                                              Discovery Cutoff:        Sept. 30, 2022
 28                                           Pretrial Conference:     Dec. 30, 2022
                                                                     No. 2:19-cv-10374-SB-E
                 TP-LINK USA’S SUPPLEMENTAL MEMO RE: MOTION FOR SANCTIONS
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  1                                           Trial Date:             Jan. 9, 2023
  2
                                              Complaint Filed:       May 29, 2019
  3                                           Am. 5th Am. Com. Filed: May 27, 2022
  4
  5
      TP-LINK USA CORPORATION,
  6
  7             Counterclaimant,
  8        v.
  9
      THIMES SOLUTIONS INC.,
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 11             Counter-Defendant.
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                                                                    No. 2:19-cv-10374-SB-E
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  1          Thimes’s opposition digs itself deeper into willful misconduct proving the very
  2 reason why this case should be terminated.1 Thimes complains that in meeting its
  3 discovery obligations under FRCP 26, it undertook the task of producing over 200,000
  4 withheld documents that the Court deemed relevant and proportional, and now
  5 contends that TP-Link is dissatisfied.2 But TP-Link’s issue is not with the volume of
  6 the production, rather that Thimes’s purposefully concealed highly relevant discovery
  7 relating to the REDACTED                                      , which should have been
  8 produced at the latest in July 2022. Thimes contends TP-Link could have learned of
  9 the REDACTED                                                                        by “[a]
 10 simple ‘Control-F’” (Joint Stip. at 30:5-7) to search its 195-page privilege log, but a
 11 few entries buried in this log and a few documents buried in an over 200,000 document
 12 production do not excuse Thimes’s failures. The REDACTED                 goes to the core
 13 of why Thimes was expelled and is clearly relevant to TP-Link’s defense. Thimes’s
 14 opposition should be disregarded for a number of reasons, as detailed below.
 15          First, Thimes’s counsel appears to be placing blame on their client, Avraham
 16 Eisenberg, who essentially collected and ran his own document production (Joint Stip.
 17 at 27-30), to feign ignorance (and argues inadmissibility when that is not the standard
 18 under FRCP 26) of the REDACTED                                since it was not REDACTED
 19   REDACTED   . This is not credible. As Thimes’s privilege log shows, Thimes’s litigation
 20 counsel was in communication with
 21   REDACTED
           . Supplemental Decl. of Heather Auyang (“Sup. Auyang Decl.”), ¶¶
 22 2-4, Ex. A. Indeed, on 11/19/2020, Eisenberg sent the REDACTED                        to his
 23 litigation counsel—Gaw, Poe, Meng and Schlatchet. Id. These two privilege log entries
 24
 25   Given the timing of Thimes’s 8/31 production and the case schedule (ECF No. 170),
      1

 26 TP-Link respectfully requests that the Court consider this motion even though it is
    scheduled to be heard 7-days outside the time permitted for hearing motions.
 27 2
      Thimes represented to the Court that it “does not anticipate any issues completing its
 28 document production” by 8/31/2022. ECF No. 201-1 at 65-66.
                                                  1                        No. 2:19-cv-10374-SB-E
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  1 are conspicuously missing from Thimes’s opposition to downplay counsel’s knowledge
  2 of the REDACTED                and impact on this case. The very fact that Thimes concealed
  3 and is resisting any discovery on this topic is telling.
  4            Second, Thimes takes the position that the REDACTED              is not responsive
  5 to TP-Link’s discovery requests by attempting an artful distinction that RFP No. 10 is
  6 limited to documents and communications with Amazon, which does not include
  7 REDACTED                        . Joint Stip. at 38. But even if this were a passable argument,
  8 Thimes’s cites privilege log entries showing communications with Amazon, e.g.,
  9
 10   REDACTED                                              . See Joint Stip., at 29:14-30:2; see
 11 also Suppl. Auyang Decl. ¶¶ 2-4.
 12            Thimes avoids that Eisenberg maintained copies of these responsive
 13   REDACTED
          by arguing any such documents were sent to him by his counsel attached to
 14 otherwise privileged emails,3 but the fact that the emails themselves might be
 15 privileged does not necessarily mean that all attachments thereto were also privileged.
 16 See O’Connor v. Boeing North Am., 185 F.R.D. 272, 280 (C.D. Cal. 1999) (“[N]ot all
 17 attachments to, or enclosures with, [privileged] documents are necessarily protected by
 18 the privilege.”); see also Al Otro Lado, Inc. v. Wolf, No. 3:17-CV-2366-BAS-KSC,
 19 2020 WL 6449152, at *3 (S.D. Cal., Nov. 2, 2020). Instead, the party asserting the
 20 privilege “must prove that each attachment is protected by privilege.” Our Children’s
 21 Earth Found. v. Nat’l Marine Fisheries Svc., 85 F. Supp. 3d 1074, 1088 (N.D. Cal.
 22 2015) (citations omitted); see also Bruno v. Equifax Info. Svcs., No. 2:17-cv-327-WBS-
 23 EFB, 2019 WL 633454, at *8 (E.D. Cal. Feb. 14, 2019). Here, Thimes cannot
 24 reasonably argue that documents sent to
 25   REDACTED                                    are independently protected by privilege and
 26 “mere transmittal of documents to a lawyer is insufficient to bring documents under
 27
 28   3
          In fact, Eisenberg produced over 50 filings in this case. Suppl. Auyang Decl., ¶ 5.
                                                    2                          No. 2:19-cv-10374-SB-E
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  1 the umbrella of the attorney-client privilege.” See Clavo v. Zarrabian, 8:03CV00864-
  2 CJC-RCx, 2003 WL 24272641, at *2 (C.D. Cal. Sept. 24, 2003).
  3        Thimes’s also argues that RFP No. 2 is just too broad, so how could the
  4   REDACTEDfall within its scope. This is not only illogical, but this Court
  5 determined RFP No. 2 to be relevant and proportional. Thimes also faults TP-Link for
  6 not obtaining documents from Amazon about an REDACTED         that it just learned about—
  7 but Thimes is a party to this case and as it well knows the burden on third parties should
  8 be minimized. Amazon served objections to the subpoena making this very point.
  9 Suppl. Auyang Decl., Ex. B (Amazon’s Objections, served on June 21, 2022).
 10        Third, Thimes tries to distract from the fact that it should have produced all the
 11 responsive REDACTED                  by arguing that TP-Link misused purported work
 12 product to discover the existence of the REDACTED     This does not, however, excuse its
 13 discovery misconduct, warrant disqualification of TP-Link’s counsel, or sanctions
 14 against TP-Link. Thimes cannot avoid the fact that it willfully withheld highly relevant
 15 discovery responsive to TP-Link’s discovery requests, which Thimes had an obligation
 16 to produce irrespective of when/how TP-Link learned about the REDACTED         (which was
 17 also referenced in several entries in Thimes’s privilege log).
 18        Thimes cannot plausibly argue that it has not had these REDACTED                   in
 19 its possession for several years, and therefore could have produced them at any time.
 20 Under FRCP 26, Thimes is obligated to provide documents within its possession,
 21 custody or control, which would include documents in the possession of
 22   REDACTED                      While Thimes’s briefing details its document collection
 23 efforts, it consisted solely of Eisenberg searching his own email, and made no mention
 24 of any effort to obtain documents from other sources under its custody/control.
 25        Thimes has also failed to meet its burden to establish that the email which it
 26 claims TP-Link misused is protected by the work product doctrine. This doctrine is
 27 intended to protect attorneys’ mental impressions, and to prevent attorneys from acting
 28 “on wits borrowed from the adversary.” Hickman v. Taylor, 329 U.S. 495, 511 (1947)
                                                 3                         No. 2:19-cv-10374-SB-E
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  1 (Jackson, J., concurring); Holmgren v. State Farm Mut. Auto. Ins. Co., 976 F.2d 573,
  2 576 (9th Cir. 1992). And “[t]he party claiming work product immunity has the burden
  3 of proving the applicability of the doctrine.” A. Farber & Partners, Inc. v. Garber, 234
  4 F.R.D. 186, 192 (C.D. Cal. 2006). Thimes fails to establish the relevant email exchange
  5 between REDACTED                             reveals attorney mental impressions, or was
  6 created because of the prospect of litigation/trial.
  7         Thimes first argues, without any evidence, that the email exchange is protected
  8 because it is “Mr. Eisenberg’s mental impressions about the mental impressions and
  9 conclusions made by others regarding an ongoing litigation.” Joint Stip. at 41. But Mr.
 10 Eisenberg is not an attorney and his mental impressions are not protected; and there is
 11 no evidence that he was relaying the impressions of any attorney—a vague reference
 12 to “made by others” does not satisfy this burden. These emails therefore do not fall
 13 within the scope of what the doctrine is intended to protect. Further, Thimes cannot
 14 meet its burden to establish the relevant communications were created because of the
 15 prospect of litigation.
 16
 17
      REDACTED                               Eisenberg Decl., Ex. 24 at 4. At a minimum, the
 18 exchange is only entitled to qualified protection as factual work product and
 19 discoverable under FRCP 26(b)(3)(A)(i) and (ii). See Joint Stip. at 22:16-27:23:7. The
 20 Court should require Thimes to produce this and all similar communications.
 21         Fourth, terminating sanctions are warranted as the prejudice to TP-Link is great
 22 given the brash behavior of opposing counsel and Eisenberg in violating this Court’s
 23 8/16 Discovery Order. Thimes talks out of both sides of its mouth—on the one hand
 24 Thimes argues that TP-Link’s “motion reflects the dire straits it faces before a jury trial
 25 starting January 9, 2023,” while on the other hand flippantly stating that terminating
 26 sanctions are not warranted for violating this Court’s Order as there is no prejudice
 27 because the Court “can simply order” the production of relevant documents “months
 28 ahead of the trial date.” This obviously misses the point that critical milestones have
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  1 past, including the filing of TP-Link’s motion for summary judgment that raises
  2 causation issues and for which the REDACTED             is certainly relevant.4
  3        Fifth, to deflect from its own flagrant acts, Thimes argues that TP-Link is not
  4 allowed to mention the email it designated as work product. However, TP-Link is
  5 entitled to discuss the relevance and contents of the email in order to challenge
  6 Thimes’s designation, as it has done in communications to Thimes’s counsel and its
  7 motion (under seal). Moreover, TP-Link’s motion does not depend on any work
  8 product, instead it is based wholly on Thimes’s failure to comply with its discovery
  9 obligations by not disclosing the REDACTED             based on its distorted reading of
 10 TP-Link’s discovery requests to hide harmful documents. Thimes relies on cases that
 11 are inapplicable here, e.g., U.S. ex rel. Hartpence v. Kinetic Concepts, Inc., which
 12 involved repeated use of privileged (not work product) materials in pleadings, not filed
 13 under seal and unredacted, and the disqualified counsel never consulted the court about
 14 privilege issues. No. CV 08-1885-GHK AGRX, 2013 WL 2278122, at *2-3 (C.D. Cal.
 15 May 20, 2013). This is not the situation here where the only communications about the
 16 at-issue work product were made to Thimes’s counsel, filed under seal, and TP-Link
 17 seeks the Court’s determination whether the work product doctrine applies. Thimes’s
 18 argument of its “severe prejudice” makes little sense—as it downplays the significance
 19 of the REDACTED    as basically irrelevant.
 20        Finally, for Interrogatory No. 12, Thimes ignores that the documents cited to
 21 invoke the benefit of FRCP 33(d) have literally nothing to do with data mining issues—
 22 e.g., inauthentic Apple charging USB cables. See Joint Stip., 14-15. Thimes has always
 23 tried to steer away from this data mining issue and narrow the scope to just a single
 24 instance where it appealed a suspension, and has repeatedly refused to provide any
 25
 26   4
       Thimes mentions that 3PM Solutions “subsequently recanted” its trademark
 27 complaint against Thimes for 200 products (Joint Stip. at 35:23-25) but does not
    dispute that 3PM Solutions did not retract its complaint (likely under litigation
 28 pressure) prior to Thimes’s permanent expulsion. See ECF No. 217-2 (JAF 45-46).
                                                  5                       No. 2:19-cv-10374-SB-E
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  1 information about Amazon’s warnings of “similar activities in the past” (mentioned in
  2 the suspension notice) or how Thimes worked with Amazon to resolve those prior
  3 violations. See Joint Stip., 13. Even if Thimes had no documents, it has an obligation
  4 to provide a fulsome narrative about the data mining and related issues, such as the
  5 “similar activities in the past.”5
  6
  7 Date: September 27, 2022                       LTL ATTORNEYS LLP
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 13                                                Counterclaimant
                                                   TP-Link USA Corporation
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 27   Thimes cites THIMES00739 (Joint Stip., 31:3-5), but as with the other cited
    documents, this is unrelated to data mining; it is a suspension related a complaint for
 28 over 40 products (ASINs). See Suppl. Auyang Decl., Ex. C.
                                               6                         No. 2:19-cv-10374-SB-E
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